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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

X
MALIK LEWIS, COURTNEY JACKSON
JESSICA SMYTHE
Plaintiffs,
COMPLAINT
-against-
THE CITY OF NEW YORK, and dury Trial Demand

DETECTIVE EDWIN A. MONTANEZ,

SHEILD # 5149

LT DETECTIVE JAVIER RODRIGUEZ,

SGT. STEVEN FRANZEL, Tax #945733,

SGT. NICHOLAS G. BEKAS, SHEILD #3037,

AND OTHER UNIDENTIFIED POLICE OFFICERS,
UNIDENTIFIED DETECTIVES AND

JOHN AND JANE DOES 1-8,

Defendants
Xx

Plaintiffs MALIK LEWIS, COURTNEY JACKSON and JESSICA SMYTHE, by their
attorney Edward Zaloba, Esq:, complaining of the defendants, aileges as follows:

PRELIMINARY STATEMENT

1. «= This is a civil rights action in which the plaintiffs seek relief for the
defendants; violation and deprivation, under the color of State law of plaintiffs’ rights
secured by the Fourth and Fourteenth Amendments of the New York and United
States constitutions and under common law and is being brought pursuant to 42 USC
§1983.

2. Plaintiffs seek damages, both compensatory and punitive, affirmative
and equitable relief, an award of costs,.interest and attorneys’ fees, and such other

and further relief as this Court deems just and equitable.
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JURISDICTION

3. Jurisdiction is based upon and conferred to this Court by 42 U.S.C.
§1983, and 28 U.S.C. §§1331 and 1343(3) and (4). Plaintiffs further invoke this
Court’s pendent jurisdiction pursuant to 28 U.S.C. §1367(a) with respect to any and
all State law claims and against all parties that are so related to the claims in this
action within the original jurisdiction of this Court that they form part of the same
case or controversy.

DEMAND FOR JURY TRIAL

4. Plaintiff respectfully demands a trial by Jury of all issues that are triable in this
matter pursuant to Fed R. Civ. P. 38(b).

PARTIES

5. Plaintiffs, MALIK LEWIS, COURTNEY JACKSON and JESSICA SMYTHE are
citizens of the United States, and at all relevant times, are residents of the City and State of
New York.

6. Defendant, The City of New York was and is a municipal corporation duly
organized and existing under and by virtue of the laws of the State of New York.

7. Defendant, The City of New York maintains the New York City Police
Department, a duly authorized public authority and/or police department, authorized to perform
all functions of a police department as per the applicable sections of the New York State
Criminal Procedure Law, acting under the direction and supervision of the aforementioned
municipal corporation, City of New York.

8. That at all times hereinafter mentioned, the individually named defendants,

Police Officer Detective EDWIN MONTANEZ, Lieutenant Detective JAVIER RODRIGUEZ,
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Sergeant STEVEN FRANZEL, Sergeant NICHOLAS G. BEKAS and other unidentified New
York City Police Officers were duly sworn police officers of said department and were acting
under the supervision of said department and according to their official duties and under the
color of state law.

9. That at all times hereinafter mentioned the defendants, either personally or
through their employees, were acting under color of state law and/or in compliance with the
official rules, regulations, laws, statutes, customs, usages and/or practices of the State of New
York.

10. Each and all of the acts of the defendants and other unidentified New York City
police officers alleged herein were done by said defendants while acting within the scope of
and in furtherance of their employment by defendant The City of New York.

11. All defendant officers are being sued in both their individual and official
capacities.

NOTICE OF CLAIM

12. That on December 14, 2023, Notice of Claims were served upon the Comptroller
of the CITY OF NEW YORK on behalf of the plaintiffs. All 50H hearings were conducted.

13. That more than thirty (30) days have elapsed since the Notice of Claim has been
served upon the defendants and the said defendants have neglected or refused to make any
adjustments or payment thereof.

14. That this action is commenced within one year and ninety days after the causes
of action arose and other caused of action within three (3) years when said action arose.

STATEMENT OF FACTS

15. That on or about September 20, 2023, at approximately 4:40 am, all plaintiffs
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were sleeping in their rooms inside of the premises located at 208-08 100" Avenue in Queens.

16. At the above date and time, plaintiff JESSICA SMYTHE was sleeping in her
locked room on the second floor at said multiple dwelling.

17. At the above date and time, plaintiffs MALIK LEWIS and COURTNEY JACKSON,
who are husband and wife and son were sleeping in their locked room on the second floor of
said dwelling.

18. Plaintiffs LEWIS and JACKSON paid their rent each week and had lived there for
3-4 years.

19. Plaintiff SMYTHE paid her rent each week and had lived there for 9 months.

20. ‘Plaintiff SMYTHE, whose room unit was on the second floor, was awoken by
officers who knocked her locked door down and confronted plaintiff with guns pointed at her.

21. ‘Plaintiffs husband and wife MALIK LEWIS and COURTNEY JACKSON with their
10 year old son were awoken by police breaking in their door, - plaintiff LEWIS approached the
officers and conversed with said officers demanding to see a warrant, he provided his name
and an officer told him he wasn’t on the list; he was removed to the downstairs.

22. Plaintiff COURTNEY JACKSON stayed in the bed with her child and inquired
don’t you know there’s a child in here. She was eventually taken downstairs with her son.

23. | There was another person seized and arrested who lived in the attic 3% floor — no
contraband was found on her person or in her room.

24. A defendant, ANCIL HAZELWOOD, who resided on the 1° floor room had a
small quantity of psilocybin mushrooms and 9mm magazine found in his'room. At or about the
time of the arrest the defendant confessed that these items found in his room were his.

25. All plaintiffs were removed from their rooms and taken downstairs in the house.
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26. All plaintiffs had their rooms searched and no contraband whatsoever was found.

27. In all common areas as well as all the plaintiffs’ rooms, there was no contraband
found.

28. There was no drug paraphernalia found in either the plaintiffs’ rooms nor in the
common areas.

29. ‘Plaintiff COURTNEY JACKSON was taken downstairs with her son where her
son was released to a local family member.

30. ‘Plaintiffs were not familiar with the other occupants at said dwelling. All plaintiffs
had never observed anything being sold from said premises.

31. Plaintiffs only shared the bathroom with the others who were arrested. Plaintiffs
rarely used the kitchen.

32. All guns that were seized were located in the basement along with 80z of heroin
and a scale.

33. The basement door could not be opened from inside the dwelling as it was
locked by a bolt and key lock and bolt from the inside. The basement had a separate outside
entrance which was locked.

34. The plaintiffs had no access to the basement and no keys for same.

35. Plaintiffs never saw anyone enter the basement.

36. Eight (8) ounces of cocaine was seized in a locked room on the second floor.
The police broke the door down.

37. The plaintiffs never saw the door opened to this room.

38. The plaintiffs had neither access to said room nor keys for said room.

39. The plaintiffs never observed anyone enter the said room where the drugs were

found.
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40. Plaintiffs had no right to enter second floor room where drugs were seized.

41. Plaintiffs had no right to enter the basement.

42. If any of the plaintiffs entered the location where said contraband was found, they
could have been prosecuted for burglary and/or criminal trespass.

43. All plaintiffs after being taken downstairs were cuffed, searched and arrested by
defendant police officers employed by defendant City of New York within the scope of these
employment as police officers.

44. Defendants were very weil aware of the identity of the person(s) who actually
possessed, controlled and owned the contraband recovered in the execution of the search
warrant at the premises based upon information provided by a confidential informant that the
defendant and the New York City Police Department deemed reliable and provided such
information to the Court in an affidavit in support of the warrant.

45. At the time the defendants arrested the plaintiffs, the defendants knew that the
plaintiffs were not mentioned in their prior investigation; and obviously that they were neither
the target nor subject of said investigation and warrant.

46. At the time defendants arrested the plaintiffs they knew that there was no
contraband and/or drug paraphernalia found in each of the plaintiffs’ rooms.

47. At the time of arrest the defendants knew full well plaintiffs did not exercise actual
or constructive possession of any of the contraband alleged.

48. The defendant officers told the plaintiffs that they knew the contraband belongs
to the guy in the basement. They inferred that they knew him well. That this was where he
stashed his contraband.

49. It was obvious to defendant officers who entered the dwelling that each plaintiff
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lived solely within their room within the premises and utilized the bathroom and kitchen.

50. That defendants prior to the arrest of the plaintiffs knew they had seized
significant quantities of both heroin and cocaine and four (4) loaded weapons as well as cash
and scales however, they were well aware that their target, the subject was not present and
had eluded them.

51. That at the time defendants arrested the plaintiffs for aforementioned contraband,
the defendants knew that plaintiffs were wholly innocent of such crimes and that they did not
have probable or reasonable cause to arrest, accuse or charge plaintiffs with such crimes.

52. Defendant officers had failed to capture the person they knew to be the owner of
said contraband but they had seized guns and drugs as part of their major investigation. A
major operation which produced no arrests and just contraband was unacceptable.

53. That the defendant officers knew they had failed to both monitor and place the
premises under surveillance prior to the executing the warrant. This inexcusable failure placed
the entire investigation in jeopardy and enabled the target and subject to escape.

54. That the defendant officers agreed and conspired to charge the plaintiffs with
possession of said contraband so that the execution of the warrant would appear to be fruitful
and the defendants would be credited with arrests.

55. Despite the fact that defendants knew full well plaintiffs did not exercise actual or
constructive possession of any of the contraband alleged or even had knowledge of the
existence of the said items, the defendants wickedly charged each plaintiff with A-1 drug
felonies PL §220.21 and other drug related offenses some including intent to sell
PL§220.16(1). Furthermore, they also charged the plaintiffs with numerous felony weapons

charges PL §265.02 and endangering the welfare of a child PL §260.10.
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56. That defendants and their supervisors knew the specific person (subject) that
was known to deal with firearms and narcotics.

97. That defendants knew at the time of their arrest that the plaintiffs were all
employed, except JACKSON who had just left her employment a few months prior.

58. That the defendants in arresting and charging plaintiffs for the crimes of which
they were accused acted in accordance with and pursuant to custom, policy and practice of the
New York City Police Department of arresting and charging all persons present upon the
premises whenever it executes a search warrant and contraband is found, despite the fact that
they have no evidence, information or nexus between he persons arrested and the contraband
found.

59. Some of the Defendants informed the plaintiffs that they knew who possessed
said contraband and in fact knew his every move.

60. The defendants knew that such charges were false but nevertheless submitted
these fabricated criminal court complaints and police reports to the Queens County District
Attorney’s Office for the sole purpose of prosecuting plaintiffs for crimes which defendants
knew full well that plaintiffs did not commit.

61. All plaintiffs and others were transported to a local precinct, hours later they were
all transported to Queens Central Booking where they were detained for numerous hours in a
number of cells.

62. ‘The plaintiffs were arraigned in Queens Criminal Court and were placed under
supervised release requiring plaintiffs to report to the Supervised Release Program office on
numerous appearances over the course of a number of months.

63. Plaintiff MALIK LEWIS had remained incarcerated for 3 days due to a warrant on
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a VTL violation matter in another county. Plaintiff SMYTHE and JACKSON were incarcerated
for approximately 1 day.

64. ‘Plaintiffs LEWIS and JACKSON had Child Protective Services intervene as a
result of their son’s presence and the charges of endangering the welfare of a child. Both were
required to take drug tests prior to seeing their son. Shortly thereafter, both tested negative.
When they arrived back at the premises location — all their personal belongings had been
thrown out — including all their clothes for both plaintiffs and their son as well as electronical
appliances and other personal effects.

65. Plaintiff SMYTHE’s matter was dismissed and sealed on November 29, 2023 and
plaintiffs’ LEWIS and JACKSON'S matter were dismissed and sealed on December 13, 2023.

66. The Defendants, named and unnamed, caused the plaintiffs names and pictures
to appear on numerous local tv stations, Channel 7, et al and various newspapers all alleging
that they were in possession of said drugs and guns. Some of these broadcasts occurred well
before the plaintiffs’ arraignment.

67. The plaintiffs were caused to suffer embarrassment, scorn and injury to
reputation. Plaintiffs LEWIS and SMYTHE were caused to lose their employment.

68. As a result of the defendants’ falsification of charges and facts plaintiffs
were prosecuted and subject to criminal proceeding together with all its stigma,
burdens, and inconvenience until and after each matter was dismissed.

69. The defendants and all their supervisors caused news conferences to occur
where they made statement which were untrue about plaintiffs and exhibited a reckless
disregard for the truth.

70. That as a result of all the foregoing, the plaintiffs suffered loss of freedom,
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mental and emotional distress, physical discomfort, shame, embarrassment,
humiliation, economic and psychological scarring as well as other damages.

FIRST CLAIM
(False Arrest — 42 U.S.C. § 1983)

71. ‘Plaintiffs repeat, realleges each and every allegation set forth in the previous
paragraphs as though fully set forth at length herein.

72. That the defendants DETECTIVE MONTANEZ, Lieutenant Detective JAVIER
RODRIGUEZ, Sergeant STEVEN FRANZEL, Sergeant NICHOLAS G. BEKAS and other
unidentified officers herein, all employed by defendant CITY OF NEW YORK acting under
color of state law and without probable cause, justification, or privilege, subjected plaintiffs to
arrest despite not having a reasonable cause to believe plaintiffs had committed any crime.

73. That the defendants arrest of plaintiffs was intentional and subjected plaintiffs to
confinement. Plaintiffs were conscious of confinement, did not consent to the confinement,
and the confinement was not otherwise privileged.

74. By reason of the aforesaid false arrest and imprisonment, caused willfully and
malicious by defendants, their agents, servants and employees, plaintiffs were wrongfully
deprived of their rights, privileges and benefits provided to them under the constitution of the
United States constitution including the Fourth and Fourteenth Amendments, plaintiffs were
caused to be subjected to great discomfort, loss of liberty, significant indignities, scorn,
humiliation, mental and emotional distress and prevented from attending to their usual

activities.

75. That the defendants committed the foregoing acts willfully, maliciously, and in
utter disregard of plaintiffs’ rights and are therefore liable to plaintiffs for compensatory and

punitive damages.
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AS AND FOR A SECOND CAUSE OF ACTION
Against all defendants
(Conspiracy — 42 U.S.C. §1983)

76. Plaintiffs repeat, reiterate and incorporate by reference each and every allegation
contained in the prior paragraphs with the same force and effect as is more fully and at length
set forth set forth herein.

77. By the conduct and actions described above, defendants, while acting
individually under the color of state law, acting jointly and severely, conspired together and
maliciously and willfully entered into a scheme to deprived Plaintiffs of their rights, liberty and
well being and to commit the above alleged unlawful acts.

78. The acts and conduct of the defendants were the direct and proximate cause of
injury and damage to Plaintiffs and that by virtue of the aforementioned acts, Plaintiffs were
deprived of their rights, privileges and immunities secured by the Constitution of the United
States of America, inter alia , Plaintiffs’ Fourth, Fifth and Fourteenth Amendment rights.

79. By the actions described above, defendants jointly and severally, acting in their
individual capacities and under color of state law, entered into an agreement to act in concert
to inflict an unconstitutional injury and took overt actions to further that goal.

80. In so doing, defendants were motivated by an independent personal stake,
including covering up defendants’ illegal actions, recklessness, negligence and retributions.

81. That as a result of the foregoing, Plaintiffs were severely and seriously injured,
both bodily and mentally, suffered a loss of liberty, a loss of enjoyment of life, and suffered

economic loss and other damages.

AS AND FOR A THIRD CAUSE OF ACTION
(Fabrication of Evidence)

82. Plaintiffs repeat, re-allege each and every allegation set forth above as though
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fully set forth at length herein, and further alleges:

83. The individual defendants created false evidence against plaintiffs and forwarded
such false evidence to the District Attorney’s office. In creating such false evidence, the
defendants violated plaintiffs’ constitutional rights to due process.

84. The aforesaid conduct by the City of New York violated plaintiffs’ rights under 42
USC §1983 and the Fifth and Fourteenth Amendments to the United States.

85. As adirect and proximate result of this unlawful conduct, plaintiffs sustained the
damages alleged.

86. By the conduct and actions described above, defendants, while acting
individually under the color of state law, acting jointly and severely, conspired together and
maliciously and willfully entered into a scheme to deprive plaintiffs of their rights, liberty and
well-being and to commit the above alleged unlawful acts.

87. The acts and conduct of the defendants were the direct and proximate cause of
injury and damage to plaintiffs and that by virtue of the aforementioned acts, plaintiffs were
deprived of their rights, privileges and immunities secured by the Constitution of the United
States of America, inter alia, plaintiffs’ Fourth, Fifty and Fourteenth Amendment rights.

88. By the actions described above, defendants jointly and severally, acting in their
individual capacities and under color of state law, entered into an agreement to act in concert
to inflict and unconstitutional injury, and took overt action to further that goal.

89. In so doing, defendants were motivated by an independent personal stake,
including covering up defendants’ illegal actions, recklessness and retribution.

90. That as a result of the foregoing, plaintiffs were severely and seriously injured,

both bodily and mentally, suffered a loss of liberty, a loss of enjoyment of life, and suffered
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economic loss and other damages.

91. That defendants are sued in their individual capacities.

AS AND FOR A FIFTH CAUSE OF ACTION
VIOLATION OF PLAINTIFFS’S RIGHTS PURSUANT TO
42 USC §1983 AND THE FOURTH AMENDMENT VIA
MALICIOUS PROSECTUION

92. Plaintiffs repeat, reiterate and incorporate by reference each and every allegation
contained in the prior paragraphs with the same force and effect as is more fully and at length
set forth set forth herein.

93. That the plaintiffs’ rights have been violated under the Fourth Amendment of the
United States Constitution made applicable to the states via the Fourteenth Amendment by the
defendant.

94. That said malicious prosecution was initiated by the defendants and their agents,
servants and employees, without any legal justification and without probable cause in that the
defendants caused the commencement and continuation of criminal proceedings against the
plaintiffs, and in that the action was commenced and continued intentionally and with malice
and deliberate indifference to plaintiffs’ rights. The malicious prosecution ceased when the
matters were dismissed and sealed on November 25, 2019 and December 13, 2023.

95. That defendant officers and other unidentified officers swore falsely as to the
alleged criminal actions attributed to plaintiffs and caused their malicious prosecution to be
commenced and continued.

96. That the defendants mentioned herein and other unidentified officers
misrepresented and falsified evidence before the District Attorney.

97. That the defendants did not make a complete and accurate statement of facts to
the prosecutor.

98. That defendants withheld exculpatory evidence from the District Attorney.

99. That the defendants lacked probable cause to initiate criminal proceedings
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against the plaintiffs.

100. That the defendants acted with malice to initiate criminal proceedings against the
plaintiffs.

101. That the defendants were directly and actively involved in the construction of the
criminal proceeding against the plaintiffs.

102. Notwithstanding the prejudice and fraudulent conduct of the defendants, the
criminal proceeding were terminated in plaintiffs’ favor and all charges against them were
dismissed.

103. That the plaintiffs were wholly innocent of all charges.

104. That all the defendants who knew of the commencement and continuation of the
malicious prosecution of the plaintiffs are liable to the plaintiffs via their failure to exercise his
affirmative duty to intervene.

105. That as a result of the above conduct, the defendants’ malicious prosecution
caused plaintiffs’ their loss of liberty, forced to attend supervised release and other emotional

injuries and that the plaintiffs were otherwise harmed and injured.

AS AND FOR A SIXTH CAUSE OF ACTION
ON BEHALF OF PLAINTIFES:
FAILURE TO INTERVENE UNDER 42 U.S.C. 1983

106. Plaintiffs repeats, reiterates and incorporates by reference each and every
allegation contained in the prior paragraphs with the same force and effect as is more fully and
at length set forth set forth herein.

107. Each and every individual defendant officer who observed the unlawful conduct
and had an opportunity to intervene violated Plaintiffs’ rights under 42 U.S.C. 1983 and the
Fourth and Fourteenth Amendments by failing to uphold their duty to intervene and prevent
such conduct.

108. The individual defendant officers failed to intervene on plaintiffs’ behalf to prevent

the violation of his constitutional rights despite having a realistic opportunity to do so.
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109. As aresult of the aforementioned conduct of the individual defendants, plaintiffs’
constitutional rights were violated and they were subjected to battery and other violations of

their constitutional rights.

SEVENTH CAUSE OF ACTION
Municipality Liability - 42 U.S.C. §1983

110. Plaintiffs repeat, realleges each and every allegation set forth in the previous
paragraphs as though fully set forth at length herein.

111. That at all times material to this complaint, defendant CITY OF NEW YORK
through its Police Department (New York City Police Department) had in effect de fact policies,
practices, customs and usages which were a direct and proximate cause of deprivation of
plaintiffs’ constitutional rights by defendant and other members of the New York City Police
Department.

112. That defendant CITY OF NEW YORK for many years have maintained a de facts
policy, custom practice and usage of arresting all persons present in premises where a search
warrant is executed and illegal contraband is found, despite the fact that there is no evidence
that all those persons possessed the illegal items and having information that a particular
person actually owned and possess them.

113 That this longstanding practice of arresting persons who the police know are
innocent merely because they are present at the premises when the search warrant was
executed constitutes a gross violation of such persons, including plaintiffs’ Fourth Amendment
Constitutional Rights.

114. The aforementioned customs, policies, usages, practices, procedures and rules
of the CITY OF NEW YORK and the New York City Police Department, including but not

limited to arresting persons without probable cause, providing false information to prosecutors,
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falsifying police reports and testifying falsely under oath.

115. The Defendant CITY OF NEW YORK, failed to effectively screen hire, train,
supervise, and discipline its police officers and employees, including the defendant police
officers and employees herein, for their ability to conduct proper and truthful police work, for
their ability to investigate properly and for their ability to determine probable cause.

116. The existence of each de facto policies and/or well settled and widespread
customs and practices has been known to supervisory and police-making officers and officials
of the Police Department and the CITY OF NEW YORK for a substantial period of time.

117. Upon information and belief, despite knowledge of such illegal de facto policies
and practices, the supervisory and police making officers and officials of the Police Department
and the CITY OF NEW YORK have not taken adequate steps to terminate these policies and
practices, have not disciplined individuals who engage in such practices, or otherwise properly
trained police officers with regard to the constitutional and statutory limits on the exercise of
their authority, and have instead sanctioned and ratified these policies, customs and practices
through their deliberate indifferences to or negligent disregard of the effect of said policies,
customs and practices upon the constitutional rights of persons in the City of New York.

118. Defendant NYC as well as unidentified police officers who were supervisors and
final decision makers as a matter of policy and practice, have with deliberate indifference failed
to properly train, discipline, sanction and retrain police officers, despite their knowledge of the
recurring problems of violations of the constitutional rights of citizens by seizing persons
without probably cause, falsely arresting persons, falsifying official records etc., and in so
failing, the defendant NYC has caused, encouraged, condoned and allowed the defendants in

this case to engage in the aforementioned unlawful conduct without fear of consequence for
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their illegal acts which did cause the plaintiffs to be subjected to deprivations of their civil
rights.

119. That the defendant municipality, NYC, alerted to the existence of a significant
number of false arrests by its police officers, by repeated complaints of false arrest, exhibited
deliberate indifference there too in that it was obvious to NYC that there was a need for more
and/or improved supervision of police officers in order to protect against constitutional
violations and in spite of repeated complaints of civil rights violations, there have been no
meaningful attempts on the part of NYC to investigate or forestall further incidents.

120. That the defendant municipality has also been alerted to the use of malicious
prosecution brought by its employee officers to cover up the false arrests and unlawful
seizures by its police officers, and that they culture of bringing such false charges and
malicious prosecuting victims of NYPD false arrest has been allowed to exist without
representations to the officers who engage in such behavior.

121. Moreover, the action of the individual defendants resulted from and were taken
pursuant to a de facto policy and/or well settled and widespread custom and practice off the
City of New York which is implemented by police officers offset city. When officers demand a
confession from a suspect and if not provided officers arrest innocent persons to coerce and
punish not only the suspect but moreso, innocent family members — all without probable cause
thereto. Where the upward mobility of the officers within ranks is accomplished by the sheer
number of arrests. This conduct is open and notorious and frequently implemented in both
weapons and drug arrests and prosecutions. This is well established practice and custom of
the defendant NYC Police Department which has been the subject of a voluminous number of

civil rights actions.
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122. The existence of such de facto policies and/or well settled and widespread
customs and practices have been known to supervisory and policy making officers and officials
of the Police Department of the City of New York for a substantial period.

123. Each and every year, thousands of civil rights actions alleging false arrest and
unlawful imprisonment by police officers are brought and “settled” by the defendant NEW
YORK CITY. Each year, the defendant, NEW YORK CITY spends millions of dollars to settle
and/or satisfy said action.

124. The defendant City has rather than correct and rectify these unconstitutional
abuses by its police force it would rather permit said abuse is to continue as a “cost of doing
business”. Defendant City has made a conscious -ill-advised decision to allow the status quo
to continue and allow the police to police themselves, thereby resulting in multitudes of civil
rights violations and abuses.

125. Upon information and belief, and without limiting the foregoing, the CITY OF
NEW YORK has specifically failed to terminate said practices in the following manner:

(a) Has failed to properly train, instruct, and discipline police officers with
regard to the existence of probable cause;

(b) Has failed to properly train, instruct, and discipline police officers with
regard to falsifying police reports and providing misleading information to prosecutors;

(c) Has failed to properly train, instruct, and discipline police officers with
regard to testifying falsely under oath;

(d) Has failed to properly train, instruct, and discipline police officers with
regard to proper review of evidence and status reports on said cases;

(e) Has failed to properly train, instruct, and discipline police officers that
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arresting innocent family members or persons without probable cause is improper police
procedure as well as a violation of constitutional rights;

(f) Has permitted police officers to maintain the “blue wall of silence” and to
coerce and fail to report the misconduct of other police officers;

(g) Has structured procedures and standards at the Civilian Complaint
Review Board, the Office of Chief of Department, and Internal Affairs in such a manner that an
officer's denial of the charges is ordinarily sufficient to remove the threat of any discipline or
restraint upon the officers conduct and to prevent any objective review of the officer’s conduct.

(h) Has failed to require police officers to accept independent and objective
review of civilian complaints and imposition of discipline;

(i) Has failed to properly structure the Police Department to review and
discipline the existence of unlawful conspiracy by defendant officers.

126. Defendant CITY OF NEW YORK is directly liable and responsible for the acts of
defendants because it has repeatedly and knowingly failed to properly supervise, train and
discipline said officers and because it repeatedly and knowingly failed to enforce the rules and
regulations of the New York City Police Department and the laws of the state of New York and
the United States.

127. The knowing and repeated failure of the defendants CITY OF NEW YORK in
their execution of search warrant and the existence of probable cause actually caused the
injuries the plaintiffs alleged herein. The City’s failure to address this age-old custom is the
moving force behind the violation of plaintiffs’ federally protected rights.

128. Upon information and belief, defendant, CITY OF NEW YORK, knew or should

have known that the acts alleged herein would deprive plaintiffs of their rights without due
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process of law, in violation of the First, Fourth, Fifth, Ninth, and Fourteenth Amendment to the
United States Constitution and Article 1, §§1, 6, 8, 9, 11 and 12 of the Constitution of the State
of New York, including, without limitations, such rights as plaintiffs’ rights to freedom from loss
of liberty, freedom of speech, rights to petition for redress of grievance, right to due process
and the right to equal protection of the laws.

129. As a result of the foregoing conscious policies, practices, customs and/or
usages, defendant CITY OF NEW YORK, has permitted and allowed the employment and
retention of individuals as police officers, servants and employees whose _ individual
circumstances place the public or segments thereof at substantial risk of being the victims of
unlawful and/or unreasonable behavior.

AS AND FOR AN EIGHTH CAUSE OF ACTION
STATE CLAIM —- DEFAMATION

130. Plaintiffs repeat, realleges each and every defamation allegation set forth in the
previous paragraphs as though fully set forth at length herein.

131. Defendant MONTANEZ, Lieutenant Detective JAVIER RODRIGUEZ, Sergeant
STEVEN FRANZEL, Sergeant NICHOLAS G. BEKAS and other named and unidentified
officers intentionally contrived to injure plaintiffs in their good name and reputation, to injure
them in their employment, and to hold them up to scorn, ridicule, and contempt in making a
false and defamatory statements that would be published, distributed and circulated by
publication in the newspaper and on news broadcast on major channels in the metro area.

132. By reason of publications and news broadcast caused by said defendants,
statements and its wide circulation by the news media, plaintiffs have been injured in their
good name, fame, credit and reputation, both as an individual and in their employment, and

has been injured in their feeling, mind and body and have been held up to ridicule and
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contempt by their friends, employer, acquaintances and the public, and have been shunned
and avoided by their friends and acquaintances and have suffered general and compensatory
damages.

133. The statements made by defendants to the news media reporter were made with
malice and/or reckless disregard of the truth.

134. The statements made by defendants to their supervisors and thereby to news
personnel is libel per se.

135. As a result of the defamation of their character, plaintiffs, LEWIS and SMYTHE,
have lost their employment and been damaged.

AS AND FOR A NINTH CAUSE OF ACTION
STATE CLAIM -MALICIOUS PROSECUTION

136. Plaintiffs repeat, realleges each and every allegation set forth in the previous
paragraphs as though fully set forth at length herein.

137. That the plaintiffs’ rights have been violated under the Fourth Amendment of the
United States Constitution made applicable to the states via the Fourteenth Amendment by the
defendant.

138. That said malicious prosecution was initiated by the defendants, their agents,
servants and employees, without any legal justification and without probable cause in that the
defendants caused the commencement and continuation of criminal proceedings against the
plaintiffs, and in that the action was commenced and continued intentionally and with malice
and deliberate indifference to plaintiffs’ rights.

139. That defendants and other unidentified officers swore falsely as to the alleged
criminal actions attributed to plaintiffs and caused the malicious prosecution to be commenced

and continued.
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140. That the defendants mentioned herein and other unidentified officers
misrepresented and falsified evidence before the District Attorney.

141. That the defendants did not make a complete and accurate statement of facts to
the prosecutor.

142. That the defendants withheld exculpatory evidence form the District Attorney.

143. That the defendants lack of probable cause to initiate criminal proceedings
against the plaintiffs.

144. That defendants acted with malice to initiate criminal proceedings against the
plaintiffs.

145. That the defendants were directly and actively involved in the construction of the
criminal proceeding against the plaintiff.

146. That the defendants acted with malice in their continuation of said false charges.

147. That defendants misrepresented and falsified evidence throughout all phases of
the criminal proceedings.

148. Notwithstanding the prejudice and fraudulent conduct of the defendants, the
criminal proceeding was terminated in plaintiffs’ favor where all charges against them were
dismissed.

149. That the plaintiffs were wholly innocent of all charges.

150. That all the defendants who knew of the commencement and continuation of the
malicious prosecution of the plaintiffs are liable to the plaintiffs via their failure to exercise their
affirmative duty to intervene.

151. That as a result of the above conduct, the defendants’ malicious prosecution

caused plaintiffs’ their loss of liberty and other emotional injuries and that the plaintiffs were
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otherwise harmed and injured.

AS AND FOR A_TENTH CAUSE OF ACTION
ON BEHALF OF PLAINTIFFS
STATE CLAIM- FALSE ARREST

152. Plaintiffs repeats, reiterates and incorporates by reference each and every
allegation contained in the prior paragraphs with the same force and effect as is more fully and
at length set forth set forth herein.

153. By the actions described above, the defendants, falsely seized and arrested
plaintiffs, without reasonable or probable cause, illegally and without a warrant, and without
any right or authority to do so. The defendants intended to confine plaintiffs, plaintiffs were
aware of their confinement and did not consent to said confinement. The acts and conduct of
the defendants were the direct and proximate cause of injury and damage to plaintiffs and
violated plaintiffs’ statutory and common law rights as guaranteed plaintiffs by the laws and
Constitution of the State of New York.

154. As a result of the foregoing, plaintiffs were deprived of liberty, sustained great
emotional injury including mental suffering, humiliation, embarrassment, and was otherwise
harmed, damaged and injured.

AS AND FOR A ELEVENTH CAUSE OF ACTION
ON BEHALF OF PLAINTIFFS
STATE CLAIM — FALSE IMPRISONMENT

155. Plaintiffs repeats, reiterates and incorporates by reference each and every
allegation contained in the prior paragraphs with the same force and effect as is more fully and
at length set forth set forth herein.

156. Asa result of the foregoing, plaintiffs were falsely imprisoned by the defendants,
their liberty was restricted for an extended period of time, they were put in fear for their safety,
and they were humiliated and subjected to handcuffing and other physical restraints.

157. Plaintiffs were conscious of said confinement and did not consent to same.

158. The confinement of plaintiffs were without probable cause and was not otherwise
privileged.

159. As a result of the foregoing, plaintiffs were deprived of liberty, sustained great

emotional injury including mental suffering, humiliation, embarrassment, and were otherwise
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harmed, damaged and injured.

AS AND FOR A TWELFTH CAUSE OF ACTION
STATE CLAIM -BATTERY

160. Plaintiffs repeat, reiterate and incorporate by reference each and every allegation
contained in the prior paragraphs with the same force and effect as is more fully and at length
set forth set forth herein.

161. By the actions described above, defendants’ officers while in the scope of their
employment, maliciously, willfully and intentionally committed battery upon the plaintiffs with
apparent ability and objective to cause imminent harm and offensive bodily harm and
subjected plaintiffs to physical injury and harm, embarrassment and humiliation. The
defendants’ intentional willfully and maliciously battered plaintiffs, when they in a hostile
manner struck plaintiffs without their consent and with the intentions of causing harmful and/or
offensive bodily contact to the plaintiffs and caused such battery. The acts and conduct of the
defendants were the direct and proximate cause of injury and damage to plaintiffs and violated
plaintiffs’ statutory and common law rights as guaranteed plaintiffs by the laws and Constitution
of the State of New York.

162. Defendant police officers did so without privilege or consent from plaintiffs.

163. As a result of the foregoing, plaintiffs sustained great emotional injuries, were
subject to great humiliation, physically harmed and were otherwise harmed, damaged and
injured

THIRTEENTH CAUSE OF ACTION
STATE CLAIM- FAILURE TO INTERVENE

164. Plaintiffs repeat, realleges each and every allegation set forth in the previous
paragraphs as though fully set forth at length herein.

165. Each and every individual defendant officer and unidentified officers had an
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affirmative duty to intervene on plaintiffs’ behalf to prevent the violation of their constitutional
rights.

166. The individual defendant officers and unidentified officers failed to intervene on
plaintiffs’ behalf to prevent the violation of their constitutional rights despite having a realistic
opportunity to do so. Defendants saw the violation of Plaintiffs’ constitutional rights.
Defendants had an opportunity to step in and prevent the further violation of plaintiffs’
constitutional rights. Despite being aware of the rights being violated and the opportunity to
intervene to prevent that violation, defendant A) failed to stop defendant, and B) from
continuing said violation. As such, defendants are a liability for failure to intervene.

167. As a result of the aforementioned conduct of the individual defendants, plaintiffs’
constitutional rights were violated and they were subjected to use of excessive force and other
violations of their constitutional rights.

AS AND FOR A_ FOURTEENTH CAUSE OF ACTION

ON BEHALF OF PLAINTIFFS
STATE CLAIM - NYS CONSTITUTIONAL VIOLATION

168. Plaintiffs repeat, reiterate and incorporate by reference each and every allegation
contained in the prior paragraphs with the same force and effect as is more fully and at length
set forth set forth herein.

169. Defendants subjected plaintiffs to the foregoing conspiracies, acts and omissions
to act without due process of law, thereby depriving plaintiffs to their rights, privileges and
immunities secured by Article 1, §§1,6,8,9,11 and 12 of the New York State Constitution,
including, without limitations, the following deprivations of their rights, privileges and
immunities:

a. Plaintiff were deprived of their rights to speak freely and to petition the
government for redress of grievances, in violation of §§8 and 9 of the

Constitution of the State of New York;
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b. Plaintiffs were deprived of their rights to be free unreasonable seizures of
their person; in violation of §12 of the Constitution of the State of New
York;
c. Plaintiffs were deprived of their rights to be free from the use of excessive
or unreasonable force in the course of an unlawful seizure, in violation of
§12 of the Constitution of the State of New York;
d. Plaintiffs were deprived of their rights to liberty, without due process of
law, in violation of §6 of the Constitution of the State of New York;
170. As a result of the defendants’ conduct, plaintiffs were deprived of liberty,
sustained great emotional injury including mental suffering, humiliation, embarrassment, and
were otherwise harmed, damaged and injured.

AS AND FOR A SIXTEENTH CAUSE OF ACTION
STATE CLAIM — VICARIOUS LIABILITY.

171. Plaintiffs repeat, reiterate and incorporate by reference each and every allegation
contained in the prior paragraphs with the same force and effect as is more fully and at length
set forth set forth herein.

172. Each and everyone of the defendants, and other unidentified defendants, a group
of police officers herein, have agreed to knowingly falsified records and testify falsely in order
to cover up truth of the unconstitutional conduct and unlawful acts committed by defendants
herein.

173. All defendant officers engaging in their group falsification of facts are vicariously

liable for the underlying wrongful conduct.

174. As a result of said group falsification, cover up, the plaintiffs have sustained
emotional, physical injuries, mental suffering, humiliation, economic harm, embarrassment and

otherwise harmed, and damaged and injured.
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WHEREFORE, the plaintiffs demand the following relief jointly and severally against all

of the defendants:

A. Compensatory and Punitive damages as awarded by a jury;

B. Costs, fees and expenses:

C. Compensation on all State Claim beyond the Statutory limit

D. Such other and further relief as this court may deem appropriate and

equitable, including injunctive and declaratory relief as may be required in the interests of
justice.

Dated: Queens, New York Yours, etc.,

December 4th, 2024 ‘ .
Exuud’ Se lice

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